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                                   EXHIBIT A

                                  Proposed Order




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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE



             In re:                                                         Chapter 11

             Peer Street, Inc., et al.,1                                    Case No. 23-10815 (LSS)

                                                 Debtors.
                                                                            (Jointly Administered)

                                                                            Ref Docket No. ___


                         ORDER (I) ENFORCING THE PROTECTIONS OF 11 U.S.C. § 362;
                                (II) DEEMING LIS PENDENS VOID AB INITIO;
                                   AND (III) GRANTING RELATED RELIEF

                      Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

         (collectively, the “Debtors”), for entry of an order (this “Order”), pursuant to sections 105(a),

         362, and 541 of title 11 of the United States Code, 11 U.S.C. 101, et. seq (the “Bankruptcy

         Code”), (i) enforcing the protections of 11 U.S.C. § 362; (ii) deeming the Lis Pendens void ab

         initio; and (iii) granting related relief; and the Court having jurisdiction to consider the Motion and

         the relief requested therein pursuant to 28 U.S.C. § 1334; and consideration of the Motion and the

         relief requested therein being a core proceeding pursuant to 28 U.S.C § 157(b); and venue being

         proper in this district pursuant to 28 U.S.C §§ 1408 and 1409; and due and proper notice of the

         Motion having been provided; and it appearing that no other or further notice need be provided;




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               The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
               numbers, are: Peer Street, Inc. (8584); PS Funding, Inc. (3268); PeerStreet Licensing, Inc. (9435); Peer Street
               Opportunity Fund GP, LLC (8491); Peer Street Funding LLC (9485); PSF REO LLC (1013); PS Options LLC
               (8584); PS Warehouse, LLC (5663); PS Warehouse II, LLC (9252); Peer Street Opportunity Investors II, LP
               (1586); PS Portfolio-ST1, LLC (1868); PSF Ohio, LLC (9485); PSF TX 1, LLC (9485); PSF TX 2, LLC (2415);
               PSF TX 4 LLC (9485). The Debtors’ service address is c/o Province, LLC 2360 Corporate Circle, Suite 340,
               Henderson, NV 89074, Attn: David Dunn, Chief Restructuring Officer.
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               Terms used but not otherwise defined herein shall have the meaning ascribed to such terms in the Motion.
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         and the Court having determined that the relief sought in the Motion is in the best interests of the

         Debtors, their creditors, and all other parties in interest; and the Court having determined the legal

         and factual bases set forth in the Motion establish just cause for the relief granted herein; and the

         Court having determined that the Lis Pendens was filed in violation of the automatic stay; and the

         Court having determined that the Lis Pendens was filed in violation of the Sale Order; and the

         Court having determined that the Lis Pendens is invalid; and upon the proceedings had before the

         Court, if any; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

         ORDERED THAT:

                           1.   The Motion is GRANTED as set forth herein.

                           2.   The filing and recordation of the Lis Pendens (defined below) against the

             property located at 440 East 63rd Street, Kansas City, Missouri 64110, legally known as Lots 3,

             4, 5, and 6, Block 1, ASTOR PLACE, a subdivision in Kansas City, Jackson County, Missouri

             (the “Property”) after the commencement of the chapter 11 cases is a violation of 11 U.S.C.

             § 362.

                           3.   The lis pendens (the “Lis Pendens”) filed in the 16th Judicial District Circuit

             Court, Kansas City, Missouri, on July 24, 2023, identified by Instrument Number 2023E0052166,

             in connection with the litigation captioned US Real Estate Equity Builder LLC v. Aloha Capital,

             LLC, Case No. 1916-CV31526, in which PSFI is a named defendant, is hereby deemed void ab

             initio.

                           4.   Sean Tarpenning and his affiliates, successors, assigns, agents, and related

             parties are expressly prohibited from taking or causing others to take any actions in violation of

             11 U.S.C. § 362, including but not limited to: (1) commencing or continuing a judicial,

             administrative, or other action or proceeding against the Debtors or the Property that was or could


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             have been commenced prior to the Petition Date, or recovering a claim against the Debtors or the

             Property that arose prior to the Petition Date; (2) obtaining possession of property of the estate or

             of property from the estate, including the Property, or exercising control over property of the

             estate, including the Property; or (3) taking action to create, perfect, or enforce any lien against

             the Property.

                             5.   Any actions taken in violation of this Order shall be deemed void and shall

             have no legal force or effect.

                             6.   The terms and conditions of this Order shall be immediately effective and

             enforceable upon its entry.

                             7.   This Court shall retain jurisdiction to hear and determine all matters arising

             from the implementation and/or interpretation of this Order.




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